 1                                                            HONORABLE JAMES ROBART
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 6
                              UNITED STATES DISTRICT COURT
 7
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE

 9
     UNITED STATES OF AMERICA,                    )   No. CR20-191JLR
10                                                )
                     Plaintiff,                   )   UNOPPOSED MOTION TO EXTEND
11                                                )   SELF-SURRENDER DATE
                v.                                )
12                                                )
     AUSTIN HSU,                                  )   Noted: September 17, 2021
13                                                )
                     Defendant.                   )
14                                                )
15           The defendant, Austin Hsu, through counsel, Brent Hart, requests that this Court

16   delay Dr. Hsu’s self-surrender date by 60 days. The Government does not oppose Dr.

17   Hsu’s request. Pretrial Services defers to the Court.

18      I.      Procedural History

19           Dr. Hsu was charged by complaint on October 26th, 2020. Dkt 1. The following

20   day, he was arrested and had his initial appearance where he was released on conditions

21   to be supervised by pretrial services. He has remained in the community for more than

22   10 months with no violations of the conditions of his bond.

23           Dr. Hsu pleaded guilty on January 21, 2021. Dkt 32. This Court sentenced Dr.

24   Hsu on August 10, 2021 to 24 months custody with a recommendation to be placed at

25   Sheridan and was allowed to self-report. Dkt No. 49. He recently received instructions

26   that he is to report no later than September 22, 2022.

                                                                   HART JARVIS MURRAY CHANG
       UNNOPPOSED FOURTH MOTION TO                                 155 NE 100th Street, Suite 210
       EXTEND SELF-SURRENDER DATE                                     Seattle, Washington 98125
       U.S. v. Hsu, No. CR 20-191 - 1                                             (206) 661-1811
 1
 2
           II.      Another delay in the self-surrender date is warranted in light of the
 3                  COVID-19 pandemic, ongoing logistical issues with his MRI business,
                    and his spotless record on pretrial supervision.
 4
                 Dr. Hsu asks that the Court delay his self-surrender date for another 60 days. The
 5
     COVID-19 pandemic places significant strain on the Bureau of Prisons and a delay in
 6
     reporting would protect the health of Dr. Hsu, as well as BOP staff and inmates. Dr.
 7
     Hsu has been designated to Sheridan Camp in Oregon State.
 8
                 Sheridan is currently experiencing a surge in cases of COVID -19. Per BOP.gov
 9
     on August 27, 2021
10
11
         Facility Name            No. of inmates with No. of inmates with No. of inmates with
12
                                  completed tests           pending tests           positive tests
13
         FCI Sheridan             1509                      1                       202
14
                 An inmate recently died as a result of the COVID 19 virus and conditions have
15
     been questioned at the facility. See Exhibit 1.
16
                 Nationwide, the United States is currently experiencing a surge in COVID-19
17
     outbreak due to the Delta variant. In total, more than 600,000 Americans have died as a
18
     result of COVID since the pandemic began. Over the past seven days, 864 Americans
19
     have died per day as a result of COVID-19 1, representing an 11% rise from the week
20
     prior.
21
                 In addition to the concerning outbreak of COVID, Dr. Hsu is still frantically
22
     trying to put his affairs in order and deal with the MRI machine that was heavily
23
     referenced throughout defense sentencing materials. He would be grateful for some
24
     extra time in order complete that undertaking.
25
26
     1
         Www.cdc.gov/coronavirus/2019-ncov/covid-data/covidview/index.html

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          U.S. v. Hsu, No. CR 20-191 - 2                                                    (206) 661-1811
 1          Frankly, the Defense believes the combination of the on-going COVID surge
 2   and logistical issues that Dr. Hsu is dealing with relating to the MRI machine may not
 3   be resolved even with a 60-day delay. But after consulting with the government, the
 4   thought is to delay the report date by 60 days and potentially revisit the report date later
 5   if the circumstances warrant.   It is possible that a booster vaccine could be possible
 6   soon which could also be helpful.
 7      III.   Conclusion
 8          For all of the above reasons, the Court should grant this motion to delay the self-
 9   surrender date by 60 days.
10          DATED this 27th day of August, 2021.
11                                              Respectfully submitted,
12                                              s/ Brent Hart
13                                              WSBA 30368
                                                Attorney for Austin Hsu
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 1
                                        Exhibit 1
 2                 August 20, 2021 Article re COVID Death at Sheridan
                                      Shelton Herald
 3                            http://www.sheltonherald.com
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    NEWS


    Man in Oregon federal prison dies as conditions
    questioned
    Updated: Aug. 20, 2021 11:21 a.m.




    SHERIDAN, Ore. (AP) — The U.S. Bureau of Prisons said this week that a 42-year-old
    man incarcerated at the Sheridan Federal Correctional Institution in Oregon died,
    possibly from medical complications.


    On Aug. 12, Ikaika Ryan Chung was taken to a hospital for low blood pressure, low
    blood sugar and elevated heart rate, prison officials said in a statement. He was
    pronounced dead there.

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8/27/2021                                              Man in Oregon federal prison dies as conditions questioned




    Chung’s death comes amid serious concerns raised about the overall health and
    medical care of the more than 1,200 men serving sentences inside Oregon’s only
    federal prison, Oregon Public Broadcasting reported.


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    “Mentally and physically, inmates are suffering,” Oregon’s federal public defender
                                                                                                                        Learn More
    Lisa Hay wrote in a document she filed in federal court Friday, the day after
    Chung’s death. “Some have died.”


    A spokesperson for the Bureau of Prisons said previously the agency “does not
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    In her court filing, Hay detailed a number of troubling accounts her office has
    received this month from people “begging for help, for themselves and others.”




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    On Aug. 12, Oregon’s federal public defender’s office received an email from a
    person incarcerated at Sheridan.


    Hay confirmed to OPB the redacted person’s name in her court filing was Chung.
                                                                                                                        Learn More

    “inmate (redacted) has a medical problem where he is delirious, cant walk cuz his
    legs are swollen beyond the scope of ‘normal edema’, he has spoke to multiple staff
    ... and they are refusing to do ANYTHING to change his current medical status. he
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    NEEDS HELP," the email to Hay’s office said.                                           www.hotwire.com                     1

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    Chung arrived at the medium security facility Dec. 16, 2019 after pleading guilty to a
    conspiracy charge involving a drug case and was sentenced to 10 years.


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    According to the Bureau of Prisons, Chung tested positive for COVID-19 on Dec. 29,
    2020 and was placed in medical isolation and monitored. On Jan. 25, Chung “was
    converted to a status of recovered," officials said.


    As of Wednesday, Sheridan listed 30 positive cases of COVID-19 inside the facility.
    That’s the federal prison system’s second largest outbreak in the country behind a

    facility in Florida.


    Hay has asked a federal judge to order an inspection of the prison and regular
    updates about vaccination rates of Sheridan staff, length of time inmates are
    confined to their cells and a person to help staff and inmates communicate
    concerns.



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